

ORDER

PER CURIAM.
Defendant appeals from his conviction for second degree robbery, § 569.080, RSMo 1986. He was sentenced by the court as a prior and persistent offender to a twelve year prison term. He also appeals the denial of his Rule 29.15 motion for postconviction relief without an evidentiary hearing. We affirm.
We have reviewed the record and find the claims of error are without merit; the judgment of the motion court is based on findings of fact that are not clearly erroneous. An opinion would have no precedential value nor serve any jurisprudential purpose. The parties have been furnished with a memorandum for their information only, setting forth the reasons for this order affirming the judgment pursuant to Rules 30.25(b) and 84.16(b).
